     Case: 1:20-cv-02579 Document #: 13 Filed: 09/15/20 Page 1 of 1 PageID #:211


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Wytonya Byrd v. Robert L. Wilkie Case Number: 20-CV-02579


An appearance is hereby filed by the undersigned as attorney for:
Wytonya Byrd
Attorney name (type or print): Lee B. Muench

Firm: Dentons US LLP

Street address: 233 S. Wacker Drive, Suite 5900

City/State/Zip: Chicago, IL 60606

Bar ID Number: 6305846                                     Telephone Number: 312-876-8000
(See item 3 in instructions)

Email Address: lee.muench@dentons.com

Are you acting as lead counsel in this case?                                         Yes       ì No
Are you acting as local counsel in this case?                                        Yes       ì No
Are you a member of the court’s trial bar?                                           Yes       ì No
If this case reaches trial, will you act as the trial attorney?                      Yes       ì No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this ourt an attorney must either be a member in good standing of this ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 . . §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on September 15, 2020

Attorney signature:            S/ Lee B. Muench
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
